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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 10-cv-02439-MSK-KMT

  C. S. and
  JENNIFER McCORD,

          Plaintiffs,
  v.

  PENTON MEDIA EMPLOYEE BENEFITS PLAN, an employee benefit plan, and
  CIGNA BEHAVIORAL HEALTH, INC., claim fiduciary for the Penton Media
  Employee Benefits Plan,

          Defendants.


                             JOINT STIPULATION FOR DISMISSAL


          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiffs C.S. and Jennifer McCord

  and defendants Penton Media Employee Benefits Plan and CIGNA Behavioral Health,

  Inc. provide notice of their dismissal of this action with prejudice with the parties to bear

  their own legal fees and costs.

          Dated: March 14, 2010.

  Respectfully submitted,


   s/ R. Craig Ewing_______________            s/ Jack M. Englert, Jr.
  R. Craig Ewing                               Jack M. Englert, Jr.
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